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                        Healthcare Certification Standards                                                                                                                                       03/03/25 at 2:37 p.m.




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                                                         the world because ii is rigorous and thorough. This
                                                         page details what we look for.



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                         Healthcare Certification Standards                                                                                                                                                                      03/03/25 at 2:37 p.m.




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                                                           W e make sure your patien t services or treatmen t p ractices are in compliance with applicable laws.




                                                                5. Affiliates and Partners

                                                                A merchant's affiliates must comply with all program st andards. Affiliates are any individual, business, or entity who previously, currently,
                                                                or is expected to have a commercial and/or professional relationship with the applicant organization or its principals. This means any
                                                                person or entity that exercises control over or participates in the business must not be affiliated with or control any other entity that
                                                                violates these standards. This includes but is not limited to partner pharmacies, businesses or medical practices, supplying wholesalers,
                                                                co-owned companies, staff, any associated medical personnel, and may include entities that are promoted on the domain seeking
                                                                certification. All affiliates and partners must be operating legally.

                                                                A merchant's partners, defined as organizations essential to supporting the applicant's continuum of care, such as partner pharmacies
                                                                responsible for the fulfillment of prescription medication to patients, are generally required to be LegitScript-certified or accredited by
                                                                another recognized body, with limited exceptions permitted only at LegitScript's sole discretion.




                                                                6. Patient Services                                                                                                                           +


                                                                7. Privacy                                                                                                                                    +


                                                                8. Validity of Prescription                                                                                                                   +


                                                                9. Transparency                                                                                                                               +




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                                                                        10. Advertising                                                                                                       +




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